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 1   David N. Lake, Esq., State Bar No. 180775
     LAW OFFICES OF DAVID N. LAKE
 2    A Professional Corporation
     16130 Ventura Boulevard, Suite 650
 3   Encino, California 91436
     Telephone: (818) 788-5100
 4   Facsimile: (818) 788-5199
     david@lakelawpc.com
 5

 6   Attorneys for Plaintiffs
 7
                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9

10   THE VLADIMIR GUSINSKY LIVING                Case No. 2:15-cv-02027-JAK-SS
     TRUST,
11
                  Plaintiff,                     NOTICE OF STIPULATED
12                                               DISMISSAL
           v.
13

14   STEPHEN BERMAN, an individual;
     MICHAEL G. MILLER, an individual;
15   MURRAY L. SKALA, an individual;
     ROBERT E. GLICK, an individual;
16   MARVIN ELLIN, an individual;
     DAN ALMAGOR, an individual;
17   LEIGH ANNE BRODSKY, an
     individual; and PETER F. REILLY, an
18   individual;
19                Defendants.
20   --and--
21   JAKKS PACIFIC, INC.,
22
                  Nominal Defendant.
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                                     STIPULATED DISMISSAL
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 1         Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(ii) and the Court’s June 30, 2015
 2   order (Docket No. 23), Plaintiff The Vladimir Gusinsky Living Trust and Defendants
 3   Stephen Berman, Michael G. Miller, Murray L. Skala, Robert E. Glick, Marvin Ellin,
 4   Dan Almagor, Leigh Anne Brodsky, Peter F. Reilly, and JAKKS Pacific, Inc., hereby
 5   stipulate that the above-captioned action is dismissed, without prejudice, against all
 6   Defendants.
 7   DATED: July 2, 2015                            LAW OFFICES OF DAVID N. LAKE
 8

 9                                                  By:        /s/
                                                          DAVID N. LAKE
10                                                        Liaison Counsel for Plaintiffs
11   Laurence D. Paskowitz, Esq.
12   THE PASKOWITZ LAW FIRM P.C.
     208 East 51st Street, Suite 380
13   New York, New York 10022
14   212- 685­0969
     212-685-2306 (fax)
15   classattorney@aol.com
16
     Jeffrey C. Block, Esq.
17   Joel Fleming, Esq.
18   BLOCK & LEVITON, LLP
     155 Federal Street
19   Boston, MA 02110
20   (617) 398-5600
     jeff@blockesq.com
21   joel@blockesq.com
22
     OF COUNSEL:
23   Roy L. Jacobs, Esq.
24   ROY JACOBS & ASSOCIATES
     420 Lexington Avenue Suite 2440
25   New York, NY 10170
26   212- 867­1156
     212-504-8343 (Fax)
27   rjacobs@jacobsclasslaw.com
28

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 1   Richard A. Maniskas, Esq.
 2
     RYAN & MANISKAS, LLP
     995 Old Eagle School Road, Suite 311
 3   Wayne, PA 19087
 4
     484-588-5516
     484-450-2582 (Fax)
 5   rmaniskas@rmclasslaw.com
 6

 7   DATED: July 2, 2015          SPERTUS, LANDES & UMHOFER, LLP
 8

 9

10                                __/S/ _________________
                                  Matthew Umhofer
11                                1990 South Bundy Drive Suite 705
12                                Los Angeles, CA 90025
                                  Telephone: (310) 826-4700
13                                Facsimile: (310) 826-4711
14
                                  Attorneys for Nominal Defendant JAKKS Pacific,
15                                Inc.
16
     SIGNATURES CONTINUE
17   ON NEXT PAGE
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 1   DATED: July 2, 2015         SKADDEN, ARPS, SLATE, MEAGHER & FLOM
 2
                                 LLP

 3

 4
                                 _/s/       ____________
 5                               Peter B. Morrison
 6                               300 South Grand Avenue
                                 Los Angeles, CA 90071
 7                               Telephone: (213) 687-5000
 8                               Facsimile: (213) 687-5600

 9                               Jonathan Lerner
10                               Maura Barry Grinalds
                                 4 Times Square
11                               New York, NY 10036
12                               Telephone: (212) 735-3000
                                 Facsimile: (212) 735-2000
13

14                               Attorneys for Defendants Stephen Berman, Michael
                                 G. Miller, Murray L. Skala, Robert E. Glick, Marvin
15                               Ellin, Dan Almagor, Leigh Anne Brodsky, and Peter
16                               F. Reilly

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                                  STIPULATED DISMISSAL
